Case 6:18-bl<-O7259-CC.] Doc 25 Filed 02/06/19 Page 1 of 2

Fill in this information to identify your case:

 

§Debrorr D§-b_prah Ann Anarr.l _ _ 7 __
First Narne j Middie Narne l_asl Nar'ne
Deblor 2 __ __ _ _____ ____ _ _ __ _ _
{Spouse lf. fllrng} Firsl Narne Middle Narne Lasl Name

United States Bankruptcy Court for the: lVllDDLE DiSTRlCT OF FLORlDr'-\

|

=Case number _6_:1_8-bk-0?259__ _ _ _ _
llll<nownl l Checi< if this is an

‘ amended filing

Officla| Form 108
Statement of intention for individuals Fi|ing Under Chapter 7 mrs

lf you are an individual filing under chapter 7, you must fiil out this form if:
l creditors have claims secured by your property, or
- you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list

on the form

lf two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
sign and date the form.

Be as complete and accurate as possible. lf more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

List Y_ou_r creditors who nave secured claims

1. For any creditors that you listed in Part1 of Schedule D: Creditors Who Have Ciaims Secured by Property (Of'ficial Form 1060), fill in the

information below.
identify the creditor and the property that is collateral What do you intend to do with the property that Did you claim the property
: a debt? as exempt on Schedu|e C?

.nder the property. ® %//

  
 

Cr€difOr'S chen Loan Servicing

name: i Retain the property end redeem it.
i:] Retaln the property and enter into a m Ye$
D€SCfiDtiOn Of 9A Nipmuc Trai| Providence, Rl Reaffirmalr'on Agreemenr.
property 02904 Providence County |:l Rerain the property and [@xplairr];
securing debt 1456 Sqft condo with 2
bedrooms, 1.5 bath ___ , _
Cr€difOl"S U.S. Bank National l Surrender the property - NO
name: [:I Retain the property and redeem ii.
|:] Retal`n the property and enter into a [:| YGS
D€SCriniOn Of 9A Nipmuc Trai| Providence, R| Rearfr'rmarr'on Agreeme-nt
property 02904 providence C°Unty l:l Retain the property and [explain]:

securing debt 1456 Sqft condo with 2
bedrooms, 1.5 bath

List Your Unexpir_ed Personal Property Leases _

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106{3), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p){2).

Describe your unexpired personal property leases Wil| the lease be assumed?
OFHclal Form 108 Statement of lntention for lndividuals Fi|ing Under Chapter 7 _ page 1

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Case 6:18-bl<-O7259-CC.] Doc 25 Filed 02/06/19 Page 2 of 2

Debtor‘l Deborah Ann Allard CBS€ nUmb€r ir`fkrwwrrl 6:18-bk-07259
Lessor'S namer Hyundai Capital Americ |:l NO
- Yes

Description of leased 2018 Hyundai Sonata Sedan 4-door for $309.99 a month
PFODBFTYZ VlN#: 5NPE24AF9JH700775

AcCt# 1814058843

Opened 06118

Lease

__Sign Bel__r>w_

Under penalty of perjury, l declare that l have indicated my intention about any proper of my estate that secures a debt and anypersonal
property that is subject to an unexpired lease.

X lsl Debor_ah Ann A||ard
Deborah Ann A||ard
Slgnature of Debtor 1

 

;/r, //~r

Daf€ JanuaFy-Q-‘l-ZB-‘i-B-- Daf€

Ofl“rcial Form 108 Statement of intention for individuals Fi|ing Under Chapter 7 page 2

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